Case 1:15-cv-07433-LAP Document 1090-45 Filed 07/30/20 Page 1 of 11




                   EXHIBIT 1
             (File Under Seal)
Case 1:15-cv-07433-LAP Document 1090-45 Filed 07/30/20 Page 2 of 11
Case 1:15-cv-07433-LAP Document 1090-45 Filed 07/30/20 Page 3 of 11




                                                            GIUFFRE005432
                                                            CONFIDENTIAL
Case 1:15-cv-07433-LAP Document 1090-45 Filed 07/30/20 Page 4 of 11
Case 1:15-cv-07433-LAP Document 1090-45 Filed 07/30/20 Page 5 of 11
Case 1:15-cv-07433-LAP Document 1090-45 Filed 07/30/20 Page 6 of 11
Case 1:15-cv-07433-LAP Document 1090-45 Filed 07/30/20 Page 7 of 11
Case 1:15-cv-07433-LAP Document 1090-45 Filed 07/30/20 Page 8 of 11
Case 1:15-cv-07433-LAP Document 1090-45 Filed 07/30/20 Page 9 of 11
Case 1:15-cv-07433-LAP Document 1090-45 Filed 07/30/20 Page 10 of 11




                    EXHIBIT 2
             (File Under Seal)
Case 1:15-cv-07433-LAP Document 1090-45 Filed 07/30/20 Page 11 of 11




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                                                            CONFIDENTIAL
